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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 8
      RIDGE MARINE, LLC,
                                                              Cause No. MC21-0109RSL
 9
                             Plaintiff,

10
                  v.                                          ORDER DENYING APPLICATION
                                                              WITHOUT PREJUDICE
11
      ALASKA LOGISTICS, LLC,

12
                             Defendant,

13
                  v.

14
      BANNER BANK,

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                             Garnishee.

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17          This matter comes before the Court on an “Application for Writ of Garnishment” filed by
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     Ridge Marine, LLC., the judgment creditor, on October 18, 2021. Federal Rule of Civil
19
     Procedure 62(a) provides that “execution on a judgment and proceedings to enforce it are stayed
20
     for 30 days after its entry, unless the court orders otherwise.” The judgment in the underlying
21

22   matter was entered on October 8, 2021. The application is therefore DENIED as premature

23   without prejudice to future efforts to enforce the judgment. The Clerk of Court is directed to
24   close this matter.
25

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27
     ORDER DENYING APPLICATION
28   WITHOUT PREJUDICE- 1
            Case 2:21-mc-00109-RSL Document 3 Filed 10/20/21 Page 2 of 2



 1        Dated this 20th day of October, 2021.
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 3                                          Robert S. Lasnik
                                            United States District Judge
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     ORDER DENYING APPLICATION
28   WITHOUT PREJUDICE- 2
